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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

 ESTATE OF GEORGE BERNARD
 WORRELL, JR.,

        Plaintiff,
                                                Case No. 4:22-cv-11009-FKB-DRG
 vs.                                            District Judge F. Kay Behm
                                                Magistrate Judge David R. Grand
 THANG, INC. and
 GEORGE CLINTON,

        Defendants.




            PLAINTIFF’S MOTION TO COMPEL DEFENDANTS
       TO PAY PLAINTIFF’S EXPERTS FOR DEPOSITIONS NOTICED
                    AND TAKEN BY DEFENDANTS




        Plaintiff Estate of George Bernard Worrell, Jr., by its attorneys, Dickinson

 Wright PLLC, pursuant to Fed. R. Civ. P. 26(b)(4)(E), moves this Honorable Court

 for an Order compelling the payment of invoices for time Plaintiff’s experts spent in

 deposition and imposing sanctions upon Defendants. In support of its Motion,

 Plaintiff relies on the law and reasoning set forth in its accompanying Brief, the

 Federal Rules of Civil Procedure, and the files and records in this case. Concurrence

 in the relief requested in this Motion was sought from Counsel for Defendants on

 May 30, 2025, and concurrence was denied.
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       WHEREFORE, Plaintiff respectfully requests this Honorable Court grant

 Plaintiff’s Motion.

                                    Respectfully submitted,
                                    DICKINSON WRIGHT PLLC

                                     /s/ Daniel D. Quick
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 Dated: June 20, 2025




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


 ESTATE OF GEORGE BERNARD
 WORRELL, JR.,

        Plaintiff,
                                          Case No. 4:22-cv-11009-FKB-DRG
 vs.                                      District Judge F. Kay Behm
                                          Magistrate Judge David R. Grand
 THANG, INC. and
 GEORGE CLINTON,

        Defendants.

 __________________________________________________________________


                        BRIEF IN SUPPORT OF
            PLAINTIFF’S MOTION TO COMPEL DEFENDANTS
       TO PAY PLAINTIFF’S EXPERTS FOR DEPOSITIONS NOTICED
                    AND TAKEN BY DEFENDANTS


 __________________________________________________________________
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                                ISSUE PRESENTED

       Should Defendants have to abide by Fed. R. Civ. P. 26(b)(4)(E) and pay

 Plaintiff’s experts for their time attending depositions Defendants’ noticed?

       Plaintiff answers: YES

       Defendants presumably answer: NO



       Should the Court impose sanctions on Defendants under Fed.R.Civ.P. 11

 and/or 28 U.S.C. 1927?

       Plaintiff answers: YES

       Defendants presumably answer: NO




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                        CONTROLLING AUTHORITIES

 Cases

 Phillips v. Tangilag, 14 F.4th 524, 543 (6th Cir. 2021)

 El Camino Res., Ltd. v. Huntington Nat. Bank, No. 1:07-CV-598, 2012 WL
      4794589 (W.D. Mich. Sept. 18, 2012), report and recommendation adopted,
      No. 1:07-CV-598, 2012 WL 4794584 (W.D. Mich. Oct. 9, 2012)

 Cohen v. Jaffe, Raitt, Heuer, & Weiss, P.C., 322 F.R.D. 298, 301 (E.D. Mich.
      2017)

 Metz v. Unizan Bank, 655 F.3d 485, 489 (6th Cir. 2011)

 Rentz v. Dynasty Apparel Indus., Inc., 556 F.3d 389, 395 (6th Cir. 2009)


 Fed.R.Civ.P. 26(b)(4)(E)

 Fed.R.Civ.P. 11

 28 U.S.C. §1927




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 I.    INTRODUCTION

       Defendants George Clinton and Thang, Inc. (collectively “Defendants”)

 noticed and conducted depositions of Plaintiff’s retained expert witnesses, Dr. Ellen

 Exner and Mr. Robert “Bob” Kohn. Those experts appeared and testified as required.

 Pursuant to Rule 26(b)(4)(E) of the Federal Rules of Civil Procedure, Defendants

 are obligated to pay the experts for their time at said depositions. Indeed, Plaintiff

 noticed and took the deposition of Defendants’ rebuttal expert Mr. Alan Elliot and

 as required, paid Mr. Elliot’s invoice. Despite repeated requests, Defendants have

 refused to pay Dr. Exner and Mr. Kohn and have now taken the position that they

 can transform their obligation under the Rule into extortion, writing, “[p]erhaps we

 could facilitate the payment if Plaintiff stipulates to release funds currently being

 embargoed by the record companies.” Ex. 1, May 30, 2025, Email from James Allen

 to Daniel Quick. Plaintiff respectfully requests that the Court issue an order

 compelling payment and for sanctions for having to bring the instant motion to

 compel Defendants to comply with their obligations under the Federal Rules of Civil

 Procedure.

 II.   LEGAL STANDARD

       Fed.R.Civ.P. 26(b)(4)(E) provides: “Unless manifest injustice would result,

 the court must require that the party seeking discovery: (i) pay the expert a

 reasonable fee for time spent in responding to discovery under Rule 26(b)(4)(A) or


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 (D).” This provision reflects the standard that an opposing party should not be able

 to obtain the benefit of expert testimony without bearing the cost of the experts’ time

 spent providing such. District Courts have routinely enforced this provision. See

 Phillips v. Tangilag, 14 F.4th 524, 543 (6th Cir. 2021). This language in the rule is

 mandatory. El Camino Res., Ltd. v. Huntington Nat. Bank, No. 1:07-CV-598, 2012

 WL 4794589 (W.D. Mich. Sept. 18, 2012), report and recommendation adopted,

 No. 1:07-CV-598, 2012 WL 4794584 (W.D. Mich. Oct. 9, 2012).

 III.      FACTUAL BACKGROUND

        Defendants took the deposition of Plaintiff’s experts Mr. Bob Kohn on March

 4, 2025, and Dr. Ellen Exner on March 6, 2025. Invoices were provided to

 Defendants on March 20, 2025. (Ex. 2) On April 24, Plaintiff’s counsel followed

 up with Defendants’ counsel about this and stated that Plaintiff was prepared to pay

 Defendants’ expert once he let Plaintiff know Defendants were willing and ready to

 pay. Counsel for Defendants stated that he would respond the following week. (Ex.

 1) He did not. Plaintiff’s counsel followed up again on May 6 and got no response

 and sent another follow up on May 29. On May 30, Defendants responded and

 would not commit to a time for payment and suggested that payment be conditioned

 upon receiving substantive prejudgment relief. Plaintiff has paid Defendants’ expert.

 (Ex. 1)




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 IV.   ARGUMENT

       Plaintiff’s experts should not have their payments delayed any longer.

 Defendant is plainly obligated to pay Plaintiff’s experts in connection with their

 depositions. The hourly rates charged are within the standard range for experts in

 their fields with comparable education, experience and specialization, less than that

 of Defendant’s expert (who charged $1000/hour; see Ex. 3), and unlike Defendant’s

 expert, were disclosed in their timely expert reports.

       To wit, both Mr. Kohn and Dr. Exner expressly disclosed their hourly rates

 for testimony in their timely-produced expert reports. See Ex. 4 at p. 53 (Excerpt of

 Kohn Report) (“My fees for services rendered as an expert witness in this case are

 $875.00 per hour, except that the hour rate for deposition and trial testimony is

 $975.00 per hour); Ex. 5 at p. 11 (Excerpt of Exner Report) (“My fee to draft this

 initial report is $2500.00. My hourly rate for deposition and trial testimony is

 $500.00 per hour plus travel costs.”).

       Comparatively, Mr. Elliott disclosed that he was not charging for his

 testimony. Ex. 6 at p. 22 (Excerpt of Elliott Report) (“I am providing this testimony

 voluntarily.”). Regardless, Mr. Elliott sent an invoice for his time at deposition

 charging $1,000 per hour (a figure seemingly pulled from thin air, and at odds with

 “voluntary” testimony). (Ex. 3) Regardless, Plaintiff, through her transactional

 counsel, King & Ballow, mailed Mr. Elliott a check for $3,000.00 in full satisfaction


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 of the invoice on June 9, 2025. In the various emails on this topic, there has been no

 suggestion of any challenge to the reasonable rates of the experts; indeed,

 Defendants affirmatively said “we will pay the experts”, but they simply won’t

 commit to when that will actually happen (Ex. 1), and thus have vexatiously forced

 Plaintiff to seek assistance of this Court for invoices already nearly 3 months old.1

       There is no good faith basis for Defendants to continue to withhold payment.

 Worse, Defendants’ insinuation that payment should be conditioned on receiving

 prejudgment substantive relief is simply bad faith. Defendants have proffered no

 explanation to withhold payment. Defendants have not challenged the

 reasonableness of the invoices or hourly rate and cannot earnestly do so given their

 own expert’s decision to arbitrarily charge more than his stated fee and more per

 hour than Plaintiff’s experts. Cent. Transp., LLC v. Thermofluid Techs., Inc., No.

 3:18-CV-80-TWP-DCP, 2020 WL 50393, at *14 (E.D. Tenn. Jan. 3, 2020)(finding

 Plaintiff’s expert rate reasonable where "Defendant hired similar experts with much

 higher rates…."). Furthermore, the invoices sent were limited to the time actually



 1
   And those rates are reasonable. They are lower than the rate charged by
 Defendants’ expert, someone who does not come close in terms of experience,
 education or training to provide expert testimony. (The Court has the full expert
 reports and depositions as part of other pending Motions, ECF No. 128-2 and -3
 (Kohn) and 129-2 and -3 (Exner).) Based upon their extensive credentials and (in
 the case of Mr. Kohn, his standard expert witness rates, which were used here per
 his deposition testimony, ECF No. 128-3, PageID 2986 at lines 12-13), the billed
 hourly rates are reasonable.
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 sitting for the deposition rather than the preparation time, which is compensable

 under the rules. Phillips, 14 F.4th at 543; Cohen v. Jaffe, Raitt, Heuer, & Weiss,

 P.C., 322 F.R.D. 298, 301 (E.D. Mich. 2017).

       While Defendants have provided no legitimate basis to not pay the fees, nor

 any challenge to the fees themselves, if history is any guide, Defendants will attempt

 to take advantage of their own wrongdoing by larding in to their Response Brief

 broadside attacks against the case, the experts, Plaintiff, Plaintiff’s counsel, and the

 Court’s past rulings. None of that is germane to payment of the fee, which

 Defendants are obliged to pay independent of any subsequent motion to strike their

 testimony. See, e.g., Cloutier v. City of Lowell, No. CV 15-12780-FDS, 2017 WL

 3038247(D. Mass. July 18, 2017)("Whether or not the expert testimony is ultimately

 used at a later stage of the proceedings because it is excluded under Fed. R. Evid.

 702 or for any other reason, does not determine who should bear the cost for expert

 discovery. See, e.g., Brown v. Butler, 30 Fed.Appx. 870, 876 (10th Cir. 2002)

 (finding that the argument that a party should not be required to pay a fee for an

 expert's time because the expert was ultimately not called to testify at trial “borders

 on the specious”).").

       Because Defendants’ position is specious, Plaintiff also asks for an award of

 fees and costs under Fed.R.Civ.P. 11 and/or 28 U.S.C. §1927. Metz v. Unizan Bank,




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 655 F.3d 485, 489 (6th Cir. 2011); Rentz v. Dynasty Apparel Indus., Inc., 556 F.3d

 389, 395 (6th Cir. 2009).

 V.    CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court issue

 an order compelling Defendants to:

       1. Pay Plaintiff’s experts, Dr. Exner and Mr. Kohn, pursuant to their invoices.

       2. Pay the reasonable fees incurred by Plaintiff in bringing this motion,

          including attorney’s fees under Rule 11 of the Federal Rules of Civil

          Procedure and/or 28 U.S.C. §1927;2 and

       3. Grant such other further relief as the Court deems just and proper.

                                        Respectfully submitted,
                                        DICKINSON WRIGHT PLLC

                                        By: /s/ Daniel D. Quick
                                        Daniel D. Quick (P48109)
                                        Attorneys for Plaintiff
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 Dated: June 20, 2025




 2
  In addition, or in the alternative, the Court may exercise its discretion to allow
 Plaintiff to submit revised invoices reflecting both testimonial and preparation time
 and order payment thereof by Defendants.
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                             CERTIFICATE OF SERVICE

         I hereby certify that on June 20, 2025, the foregoing document was
 electronically filed with the Clerk of the Court using the ECF System, which will
 send notification of such filing upon all registered counsel, and serve same.

                                        By: /s/ Nancy Cohen
                                        Legal Secretary, Dickinson Wright PLLC
 4907-4395-19514[101112-1]
